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                                    UNITED STATES BANKRUPTCY COURT
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                                      EASTERN DISTRICT OF CALIFORNIA
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       9   In re                               )             Misc. Case No. 24-00203
                                               )
      10   WINDSOR TERRACE HEALTHCARE, )
           LLC,                                )
      11                                       )
                                  Debtor.      )
      12                                       )
                                               )
      13   DONALD KNESTRICT by and through )                 Adv. Proc. No. 24-2193
           his successor-in-interest KATHERINE )
      14   FELKINS and KATHERINE FELKINS, )
                                               )
      15                          Plaintiffs,  )
                                               )
      16                          v.           )
                                               )
      17   WINDSOR NORCAL 13 HOLDINGS,         )
           LLC, et al.,                        )
      18                                       )
                                  Defendants.  )
      19   ___________________________________ )
      20                         ORDER REMANDING STATE COURT ACTION
      21           The Motion for Remand filed by Plaintiffs Katherine Felkins, as successor in interest to the
      22   late Donald Knestrict, and Katherine Felkins, individually, having been presented to the court, and
      23   upon review of the pleadings, evidence, arguments of counsel, and good cause appearing,
      24           IT IS ORDERED that the Motion for Remand is granted pursuant to 28 U.S.C. 1452(b) and
      25   consistent with the terms of the Confirmed Chapter 11 Plan at Section IV. D. 7. (Ex. B, Docket 15).
      26   Knestrict vs.Windsor Oxford Holding Company, LLC, et al., case no. 34-2022-00313404, is
      27   remanded to the Superior Court for the County of Sacramento and shall proceed in the Superior
      28   Court for the County of Sacramento immediately.
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       1          This Court’s Findings of Fact and Conclusions of Law are stated in the Memorandum and
       2   Decision relating to this Order.
       3    Dated:
           Dated: February , 2025
                    February  20, 2025                By the Court
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       5                  RONALD H. SARGIS, Judge
                          United States Bankruptcy Court
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                               Instructions to Clerk of Court
       2                            Service List - Not Part of Order/Judgment
       3   The Clerk of Court is instructed to send the Order/Judgment or other court generated
           document transmitted herewith to the parties below. The Clerk of Court will send the document
       4   via the BNC or, if checked ____, via the U.S. mail.
       5
       6    Attorney for the Plaintiff(s)                  Attorney for the Defendant(s)
            Donald Knestrict by and through his            Windsor Norcal 13 Holdings, LLC, et al.
       7    successor-in-interest Katherine Felkins and
            Katherine Felkins                              John L. Supple, Esq.
       8                                                   J Supple Law, PC
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      13    Office of the U.S. Trustee
            Robert T. Matsui United States Courthouse
      14    501 I Street, Room 7-500
            Sacramento, CA 95814
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